      Case 1:23-cv-04738-KPF Document 24 Filed 06/29/23 Page 1 of 2




                                                                           Nicholas C. Margida
                                                              Assistant Chief Litigation Counsel
                                                                        Division of Enforcement
                                                                            Tel: (202) 551-8504
                                                                            MargidaN@sec.gov

                                      June 29, 2023

Via ECF

The Honorable Katherine Polk Failla, U.S.D.J.
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     Securities and Exchange Commission v. Coinbase, Inc. and Coinbase
               Global, Inc., 23 Civ. 4738 (KPF)

Dear Judge Failla:

        Pursuant to Rule 2(D) of the Court’s Individual Rules of Practice in Civil Cases
(“Court’s Individual Rules”), Plaintiff Securities and Exchange Commission (“SEC”)
respectfully requests that the Court extend by three (3) business days the current deadline
by which the SEC must respond to Defendants’ letter dated June 28, 2023, requesting
leave to file a motion for judgment on the pleadings pursuant to Fed. R. Civ. P. 12(c),
ECF No. 23 (“Defendants’ Letter”). Defendants consent to the SEC’s extension request.

       The SEC’s current deadline to file its response to Defendants’ Letter is July 3,
2023, pursuant to Rule 4(A) of the Court’s Individual Rules. Due to the upcoming
holiday weekend, the SEC respectfully submits that good causes exists to grant the
modest extension requested by the SEC. In addition, the SEC has not previously
requested an extension of time, and the requested extension would not affect any pending
deadlines in this case.

        Accordingly, the SEC respectfully requests that the Court grant the requested
extension and reset the deadline for the SEC to file its response to Defendants’ Letter to
July 7, 2023.
             Case
Hon. Katherine Polk1:23-cv-04738-KPF
                    Failla           Document 24 Filed 06/29/23 Page 2 of 2
June 29, 2023
Page 2


                                            Respectfully submitted,

                                            /s/ Nicholas Margida
                                            Nicholas Margida
                                            Peter Mancuso
                                            Ben Kuruvilla

                                            Counsel for Plaintiff
                                            Securities and Exchange Commission


      Cc: All counsel of record (via ECF)
